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 6
                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                                NO. MJ15-538

10                                   Plaintiff,

11          v.                                                DETENTION ORDER
12   GERALD LESAN,
13
                                     Defendant.
14

15   Offense charged:
16          Count 1:         Possession of Child Pornography
17
     Date of Detention Hearing: December 2, 2015
18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19   based upon the factual findings and statement of reasons for detention hereafter set forth, finds
20   the following:
21
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22          1.        Defendant has no viable release plan.
23          2.        Defendant has active substance abuse issues.
24          3.        Assistant United States Attorney proffered additional post-arrest evidence
25   indicating activities beyond viewing..
26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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            4.      There are no conditions or combination of conditions other than detention that
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     will reasonably assure the appearance of defendant as required or ensure the safety of the
 3
     community.
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            IT IS THEREFORE ORDERED:
 5
            (1)     Defendant shall be detained and shall be committed to the custody of the
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                    Attorney General for confinement in a correction facility separate, to the extent
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                    practicable, from persons awaiting or serving sentences or being held in custody
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                    pending appeal;
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            (2)     Defendant shall be afforded reasonable opportunity for private consultation with
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                    counsel;
11
            (3)     On order of a court of the United States or on request of an attorney for the
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                    government, the person in charge of the corrections facility in which defendant
13
                    is confined shall deliver the defendant to a United States Marshal for the
14
                    purpose of an appearance in connection with a court proceeding; and
15
            (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
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                    counsel for the defendant, to the United States Marshal, and to the United States
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                    Pretrial Services Officer.
18
            DATED this 3rd day of December, 2015.
19

20                                                AJAMES P. DONOHUE
21                                                 Chief United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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